       Case 1:02-cv-09530-SAS Document 340 Filed 03/13/13 Page 1 of 2

                                                             USDCSDNY
                                                           , DOi""T n ~Fl\IT       ~~~~.~~

                                                                  ~"ll~Cl
                                                                \...       ~:., .. '. '; 1 >.."'~ 'I~-'J"
                                                                     ,'\ ..,·,,{\··.·,Hl"h.l            ... 1.
                                                                                                                                                     FILED
                                           ORIGINAL        \   ~,    "'-   ..-'"   at   ~"II>.   .',.     •




                                                            'j       DOC it: _" .,.~_" ....__._______ \
                                                                .. DATE FiLEi>....." 3-        \'3,:..13.­
                                                                                     ...-.... ............~ ...~~                          ,
                                                                    ......., .             !     ..   ~ . . . _~.- . . . . . . . . . . . . . _ , . _. . . .   •   tII< . .' .....
                                                            \




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                           1:00-cv-07898 (PAC)


                               Plaintiff               MINUTE ORDER PURSUANT TO
                                                         MEMORANDUM FROM THE
                -against-                            ADMINISTRATIVE OFFICE OF THE
                                                    U.S. COURTS, DATED JUNE 15TH, 1973
 Ashbury Capital, et aI,
                               Defendant




         The attached list of cases having been pending for more than three years, all presently
contemplated proceedings having been completed, and there having been no action for more than
twelve months, there appears to be no further reason at this time to maintain these files as open
for statistical purposes, the Clerk is instructed to complete a JS-6 closing report for each case.


       Nothing contained in this minute order shall be considered a dismissal or disposition of
these matters, and should further proceedings in them become necessary or desirable, any party
may initiate it in the same manner as if this minute order had not been entered.




       SO ORDERED:
       DATED: New York, N.Y.
              March 5, 2013


                                                                ~t7.~                   ChiefJudge
                       Case 1:02-cv-09530-SAS Document 340 Filed 03/13/13 Page 2 of 2




                                    THREE YEAR OLD CASE LIST

  JUDGE      CASE NUMBER               PLAINTIFF                        DEFENDANT                   DATE FILED

Crotty       1:00-cv-07898 (PAC)      S.E.C.                     Ashbury Capital, et al             10/17/2000
Crotty       1:08-cv-081 02 (PAC)     Nvidia Corporation         Scanner Technologies Corporation   09119/2008
Crotty       1:08-cv-08142 (PAC)      ICOS Vision Systems        Scanner Technologies Corporation   09119/2008
                                      Corporation N. V. et al
Crotty       1:09-cv-06920 (PAC)      ICOS Vision Systems        Scanner Technologies Corporation 08/05/2009
                                      Corportation N.V. et al
Ramos        7:09-cv-00531 (ER)       Trustees of Plumbers &     Richards Conditioning Corp.        01120/2009
                                      Steamfitters' Local 21
                                      Benefit Funds
Ramos        8:05-cv-0 1037 (ER)      10ao                       Ascendia Brands, Inc.              02/01/2005
Scheindlin   1:02-cv-09530 (SAS)      Scott, et al               City of New York, et al            11127/2002
Stanton      1:09-cv-01753 (LLS)      Global Companies LLC       Brite Fuel Oil Corp. et al         02125/2009
Stanton      1:09-cv-07183 (LLS)      osnow                      New York and Presbyterian          08/14/2009
                                                                 Hospital
Stanton      1: 10-cv-00230 (LLS)     Withers Broadcasting       Broadcast Music, Inc.              0111212010
                                      Company of Illinois, LLC
                                      et al




                                                    1
